














COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH



NO. 2-06-157-CV



K-7 ENTERPRISES, L.P.
	
APPELLANT



V.



TOM D. JESTER, JR., PAUL M. HAYWOOD, 	APPELLEE
S

AHMED ELMADHOUN, AND BILL ELMADHOUN
 	

 
	

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FROM THE 158
TH
 DISTRICT COURT OF DENTON COUNTY

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MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

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We have considered “Appellant’s Motion To Dismiss.” &nbsp;It is the court’s opinion that the motion should be granted; therefore, we dismiss the appeal. &nbsp;
See
 T
EX.
 R. A
PP.
 P. 42.1(a)(1), 43.2(f).

Costs of the appeal shall be paid by the party incurring the same
, for which let execution issue. &nbsp;
See 
Tex. R. App. P.
 
43.4.



PER CURIAM

PANEL A: &nbsp;HOLMAN, GARDNER, and WALKER, JJ.



DELIVERED: &nbsp;September 27, 2007

FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.




